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 Phyllis Widman, Esquire (I.D.# 004861999)
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 Attorney for Plaintiff, Officer Christopher Leary


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  CHRISTOPHER LEARY,

                         Plaintiff,                         COMPLAINT
                                                        JURY TRIAL DEMAND
           v.

  EGG HARBOR TOWNSHIP POLICE
  DEPARTMENT, THE TOWNSHIP OF EGG                        Docket No.:___________
  HARBOR, MAINLAND LOCAL PBA #77,
  NEW JERSEY STATE ASSOCIATION OF                        Hon._________________
  CHIEFS OF POLICE, STATE OF NEW
  JERSEY, MICHAEL HUGHES,
  INDIVIDUALLY AND ACTING UNDER
  COLOR OF LAW, WILLIAM NALLY,
  INDIVIDUALLY AND ACTING UNDER
  COLOR OF LAW, JEFFERY LANCASTER,
  INDIVIDUALLY AND ACTING UNDER
  COLOR OF LAW, REYNOLD
  THERIAULT, INDIVIDUALLY AND
  ACTING UNDER COLOR OF LAW
  DONNA L. MARKULIC, INDIVIDUALLY
  AND ACTING UNDER COLOR OF LAW,
  JOHN AND JANE DOES 1-10, ABC
  CORPORATIONS, AND XYZ STATE
  ENTITIES.
                         Defendants.



        Plaintiff, Christopher Leary, by and through his attorney, Phyllis Widman, Esq., of

 Widman Law Firm, LLC, says by way of complaint against Defendants as follows:




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        Plaintiff, Officer Christopher Leary, hereby complains of Defendants Egg Harbor

 Township Police Department, the Township of Egg Harbor, The State of New Jersey, Mainland

 Local PBA #77, New Jersey State Association of Chiefs of Police, Officer William Nally (ret.),

 Officer Michael Hughes (ret.), Officer Jeffery Lancaster, Officer Reynold Theriault, Ms. Donna

 L. Markulic, John and Jane Does 1- 10, ABC Corporations, and XYZ State entities as follows:

                                        THE PARTIES

        1.      Plaintiff, Christopher Leary (hereinafter referred to as “Officer Leary” or

 “Plaintiff”), is an individual domiciled in Atlantic County, New Jersey, with an address of 4

 Knight Court, Egg Harbor Township, New Jersey 08234. Officer Leary is both an employee of

 the Egg Harbor Township Police Department, and a member of the Mainland Local PBA #77

 policemen’s union.

        2.      Defendant, Egg Harbor Township Police Department (“EHT PD”), is a public

 entity with an address of 3515 Bargaintown Road, Egg Harbor Township, New Jersey 08234 and

 is Plaintiff’s current employer.

        3.      Defendant, Township of Egg Harbor (hereinafter referred to as the “Township”),

 is a public entity with an address of 3515 Bargaintown Road, Egg Harbor Township, New Jersey

 08234 and is the Township which oversees the EHT PD.

        4.      Defendant, Mainland Local PBA #77 (hereinafter referred to as the “Union”), is a

 policemen’s union, of which Plaintiff is a member, with an address of 6712 Washington Avenue,

 Suite 104, Egg Harbor Township, New Jersey 08234.

        5.      Defendant, New Jersey State Association of Chiefs of Police (“NJSACOP”), is a

 private organization with an address of 751 Route 73 North, Suite 12, Marlton, NJ 08053 and is

 the entity responsible for administering and reviewing the promotional exams, as well as



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 providing study material to the officers. NJSACOP is contracted with EHT PD and/or the

 Union.

          6.     Defendant, State of New Jersey, is the governing State entity through which the

 EHT PD and the Township operate.

          7.     Defendant, Michael Hughes, now retired, is an individual with an address of 500

 Dogwood Avenue, Egg Harbor Township, New Jersey 08234, and was the Chief of Police for the

 EHT PD at all times relevant to this Complaint.

          8.     Defendant, William Nally, is an individual with an address of 751 Rte. 73 North,

 Suite 12, Marlton, New Jersey 08053, and is also a retired Chief of Police who currently serves

 as the Deputy Executive Director of NJSACOP and who was the individual responsible for

 administering, reviewing, and/or overseeing the promotional exams at issue herein.

          9.     Defendant, Jeffrey Lancaster, is an individual and officer with an address of 123

 N. Yarmouth Ave., Longport, New Jersey, 08403, and who is the President of the Mainland

 Local PBA #77 Union.

          10.    Defendant, Reynold Theriault, the Union’s Business Agent, is an individual and

 retired officer with an address of 15 Hay Rd., Tuckerton, New Jersey 08087, and is the individual

 responsible for representing Plaintiff on behalf of the Union throughout the Grievance process at

 issue herein.

          11.    Defendant, Donna L. Markulic, now retired, is an individual with an address of

 18 James Dr., Waretown, New Jersey 08758, and was the Township Administrator during all

 times relevant to this Complaint.

          12.    Fictitious defendants, John and Jane Does 1-10, represent any and all individuals,

 officers and non-officers employed by, contracted by, or in any other way involved with the EHT

 PD, the Township, the Union, and/or NJSACOP, who are potentially responsible for the creation,



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 implementation, and/or enforcement of Defendants’ employment practices, including the

 promotional process.

        13.     Fictitious defendants, ABC corporations, represent any and all parent, subsidiary,

 employed, contracted, or otherwise affiliated entities involved in the creation, implementation,

 and/or enforcement of Defendants’ employment practices, including the promotional testing and

 process.

        14.     Fictitious defendants, XYZ state entities, represent any and all additional state

 entities involved in the creation, implementation, and/or enforcement of Defendants’

 employment practices, including the promotional testing and process.

                                   JURISDICTION AND VENUE

        15.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1331. Plaintiff

 further invokes the supplemental jurisdiction of the Court pursuant to 28 U.S.C. §1367 to hear

 and decide state law claims which are so related to the Federal claims that they form part of the

 same case and controversy within the meaning of the Federal Constitution.

        16.     Venue is proper pursuant to 28 U.S.C. §1391(b) because all Defendants reside

 within the District of New Jersey and a substantial part of the events giving rise to the Complaint

 occurred in the District of New Jersey.

        17.     Plaintiff has provided timely notice to the Defendants as required by the New

 Jersey Tort Claims Act.

                             PROCEDURAL HISTORY/TIMELINE

        18.     Plaintiff repeats and incorporates each and every allegation in the preceding

 paragraphs as if fully set forth herein.

        19.     On October 10, 2022 Plaintiff initiated a “Step One” Grievance by emailing

 Defendant, Michael Hughes, asking if he could receive copies of his own tests and results.



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         20.     On October 12, 2022, Plaintiff sent Defendant, Michael Hughes, a follow up letter

 once again requesting to see his own tests and results after Plaintiff did not receive a response to

 his initial email.

         21.     On October 31, 2022, Plaintiff submitted a written “Step Two” Grievance

 formally requesting to see the details of his examination tests and scores.

         22.     On November 22, 2022, Defendant, Micahel Hughes, responded to the Step Two

 Grievance on behalf of the EHT PD, denying the Grievance.

         23.     On November 22, 2022, Plaintiff submitted a formal “Step Three” Grievance.

         24.     On January 30, 2023, Defendant, Donna L. Markulic, authored a response to the

 Step Three Grievance on behalf of the Township, denying the Grievance.

         25.     On or about January 30, 2023, Plaintiff informed the Union that he would like to

 pursue arbitration for his Grievance, but was denied this request.

         26.     On or about April 28, 2023, Plaintiff sent a Tort Claims Notice to the State of

 New Jersey, the Township, and the EHT PD.

         27.     It was confirmed that the State of New Jersey, the Township, and the EHT PD

 received Plaintiff’s Tort Claims Notice.

         28.     On July 28, 2023, Petitioner timely filed an Unfair Practice charge in the Public

 Employment Relations Commission (“PERC”), against EHT PD and the Union.

                      FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         29.     Plaintiff repeats and incorporates each and every allegation in the preceding

 paragraphs as if fully set forth herein.

         30.     Plaintiff began working for the EHT PD in 2003 and has been a dutiful public

 servant in the Egg Harbor Township community for twenty (20) years and three (3) months.

         31.     In September 2022, Plaintiff was a candidate and participated in the promotional

 process for a Sergeant position within the EHT PD.
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        32.     On September 9, 2022, Plaintiff took the written portion of the promotional exam.

        33.     On September 21, 2022, Plaintiff took the oral portion of the promotional exam.

        34.     After the conclusion of the promotional exams, Plaintiff was provided with only

 his numeric scores.

        35.     Pursuant to the contract between the Union and EHT PD, titled “Agreement

 between Township of Egg Harbor and New Jersey State Policemen's Benevolent Association,

 Inc. - Mainland Local #77,” (hereinafter “the collective bargaining agreement”) Plaintiff is

 entitled to see his own tests, grades, and evaluations within the 14 days of the posting.

        36.     Specifically, pursuant to page 42 of the Collective Bargaining Agreement, Article

 XXVI Promotions, paragraph F states, “All Police Officers who take the test will be allowed to

 see their own tests and the grades received after the official results are announced and posted,

 within 14 days of the posting.”

        37.     Pursuant to the collective bargaining agreement, a “Step One” Grievance is

 making an informal complaint in an attempt to resolve the issue.

        38.     Specifically, the Grievance Procedure in the collective bargaining agreement

 states that in Step One of reporting a Grievance, “an earnest effort shall be made to settle the

 difference between the aggrieved Police Officer and the Chief of Police or his/her designated

 representative for the purpose of resolving the matter informally.”

        39.     Thereby, Plaintiff advised the Union and the EHT PD that he had not been given

 the opportunity to review his own tests as provided in his contract and that he would like to do

 so.

        40.     On or about October 10, 2022, Plaintiff emailed then Chief of Police, Michael

 Hughes (now ret.), requesting to see his own tests and scores per the terms of his contract.

        41.     Defendant Michael Hughes did not respond to this request.



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        42.     On October 12, 2022, Plaintiff sent a more formal memorandum to Defendant

 Michael Hughes, requesting the same information regarding his exams.

        43.     Plaintiff’s second request was again ignored.

        44.     When his earnest effort to engage in the informal process went ignored, Plaintiff

 filed a formal written complaint, or “Step Two” Grievance, on October 31, 2022.

        45.     In denying the Step Two Grievance, Defendant Michael Hughes, claimed that the

 provision of the collective bargaining agreement regarding access to test scores (recited in

 Paragraph 36 herein) “does not apply to the NJSCOP, [sic] or any other outside entity utilized to

 facilitate all or part of a promotional process.”

        46.     He continued in his response, and stated “a past practice” that “has been clearly

 defined over the decades” was his reason for refusing Plaintiff’s request, thereby violating and

 breaching Plaintiff’s collective bargaining agreement, of which he is a third party beneficiary.

        47.     On November 22, 2022, Plaintiff submitted a Step Three Grievance, appealing the

 denial of his Step Two Grievance.

        48.     In or around November 2022, the Sergeant promotions were finalized, despite

 (upon information and belief) multiple active, unresolved grievances; including, but not limited

 to Plaintiff’s, regarding the administration and overall skewed procedure of the promotional

 process.

        49.     Upon information and belief, Defendant, Donna Markulic, was (at least

 outwardly) responsible for the hasty finalization of the promotions and for the breach of the

 collective bargaining agreement.

        50.     On January 30, 2023, Defendant Donna Markulic, on behalf of the Township,

 authored the Township’s denial of Officer Leary’s Step Three Grievance.




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           51.   In the Township’s denial of the Step Three Grievance, it states that “it is clear that

 both the contact and the General Order allows [sic] officers the right to review their tests but this

 allowance clearly contradicts the policy and testing contract of the NJSACOP.” (emphasis added)

           52.   The Township’s denial of Plaintiff’s Grievance also states that “the delay of the

 Chief of Police to address or remedy the grievances within the fourteen (14) day window was

 clearly due to the fact that he had no recourse or ability to do it.”

           53.   Despite this clear admission of liability by the Defendants, and this violation of

 contract law, Plaintiff’s civil rights, and other acts or omissions contrary to law, the Union

 refused to follow through with arbitration; thereby having wrongfully and intentionally conspired

 with and abetted the other Defendants in depriving Plaintiff of his statutory and constitutional

 rights.

           54.   Instead of protecting Plaintiff’s rights and refraining from violating the law, the

 Township ultimately concluded that “the remedy of the grievances can only be accomplished by

 a change in the contractual language and/or in the promotional policy, which must be

 accompanied by the Township and the PBA representatives.”

           55.   This hypothetical solution, if even implemented, provides no relief for Plaintiff’s

 current inability to view his own tests and scores from the September 2022 promotional exams,

 and therefore, Plaintiff’s grievance was left ignored and discarded and Plaintiff is still not able to

 be promoted.

           56.   Upon information and belief, the test was administered unfairly and/or the scores

 may have been altered; however, due to Unfair Practices by the Union and EHT PD, Plaintiff

 was intentionally kept in the dark and pushed away from what he is rightfully entitled to per the

 agreement: his own test.




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        57.     Plaintiff was deprived of his statutory rights protected under the New Jersey State

 Constitution, Civil Rights Act, due to Defendants’ interfering with Plaintiff’s rights, and using

 intimidation and/or coercion.

        58.     An example of this intimidation is the insinuation that Plaintiff needs to simply

 accept this as the process, unfair or not. Defendant Hughes stated in the Step Two Grievance

 that this ongoing problem has existed for decades and that “this is validated by several officers in

 the past asking to see tests and grades they received and being denied without any grievances

 being filed because the understanding was, and is, still very clear.” Officer Hughes response

 11/22/22).

        59.     Based on the aforementioned, upon information and belief, officers in the past

 were subjected to a violation of their rights, but they were afraid to file any grievances.

        60.     The promotional process is intentionally kept hidden and in secret between the

 EHT PD, the testing company, and the Union. These Defendants have conspired to keep the

 information away from officers so that they can promote and not promote who they want, and

 based on reasons other than merit.

        61.     For example, upon information and belief, officers with similar examination

 scores to Plaintiff were promoted, despite their lack of seniority or experience in comparison to

 Plaintiff. Those officers may have been friends with Defendants and thus, were promoted. This

 is arbitrary, unfair and a conspiracy between the parties.

        62.     Upon information and belief, these decisions were not made impartially and test

 scores were intentionally skewed to meet Defendants’ desired outcome for who will be

 promoted.

        63.     Upon information and belief, most of these decisions were made by then Police

 Chief, Defendant, Michael Hughes.



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         64.     Defendant Jeffery Lancaster, president of the Union, failed to fairly represent

  Officer Leary throughout the Grievance process, which culminated in his blatant refusal to

  arbitrate, despite Plaintiff requesting to proceed to arbitration. The Union and Defendants

  Reynold Theriault and Jeffrey Lancaster refused to bring the matter to arbitration.

         65.     Upon information and belief, Jeffery Lancaster, Reynold Theriault, and Michael

  Hughes conspired to make sure Plaintiff’s Grievance did not proceed to arbitration. Not only

  does this rise to the level of conspiracy, but it is in clear violation of the Employer-Employee

  Relations Act, constituting a breach of the duty of fair representation, as well as a violation of

  Officer Leary’s civil rights under State and Federal law.

         66.     Upon information and belief, some or all of the Defendants conspired to attempt

  to conceal the inconsistencies and contract violations inherent in the current promotional process.

         67.     Upon information and belief, Plaintiff had a meritorious grievance that was

  intentionally not resolved through the Grievance process and should have been brought to

  arbitration. This violation of Plaintiff’s rights and the law, including the conspiracy to breach the

  collective bargaining agreement, were intentional and malicious.

         68.     Upon information and belief, Defendants have conspired with one another in such

  a way that makes the promotional examination process for Sergeant unfair, and when Plaintiff

  attempted to grieve the process, he was not given fair representation.

         69.     Plaintiff has suffered economic damages and current and future financial distress

  as a direct result of Defendants’ actions.

         70.     Plaintiff has suffered mental and emotional damages as a direct result of

  Defendants’ actions.

         71.     Under the law, including the Federal Civil Rights Act, Defendants' actions

  warrant a request by Plaintiff for punitive damages.



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          72.     On or about April 28, 2023, Plaintiff sent a Tort Claims Notice regarding these

  issues to the State of New Jersey, the Township, and the EHT PD.

          73.     In response to this, EHT PD retaliated against Plaintiff by putting him on

  administrative leave until he was able to complete a mental health evaluation, which Defendants

  knew was not necessary.

          74.     Plaintiff asserts that this is evidenced by the fact that EHT PD at no time

  attempted to collect Plaintiff’s weapons or other state-issued equipment prior to their receipt of

  the psychological evaluation results.      Rather, Defendants illegally asserted their power and

  control over Plaintiff to harass him by putting him on administrative leave in retaliation for his

  seeking legal redress and filing the required Notice of Claim under the Tort Claims Act.

          75.     Thereafter, Officer Leary received full and complete clearance to return to work

  from the doctor.

          76.     Defendants’ illegal and unconstitutional actions have caused Plaintiff substantial

  damages including loss of future income and pension benefits, humiliation, emotional distress

  and anxiety. Plaintiff seeks all remedies available to him under the law including, but not limited

  to, compensatory and punitive damages, back pay, future pay and increases, promotion, and

  attorney’s fees and costs.

                               COUNT I - BREACH OF CONTRACT

          77.     Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

          78.     Pursuant to the collective bargaining contract between the Union and EHT PD, of

  which Plaintiff is a third-party beneficiary, officers are entitled to see their testing materials and

  results within fourteen (14) days after the posting of the initial results.

          79.     Officer Leary requested on numerous occasions to see the materials he is entitled

  to see pursuant to his contract.
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         80.        Officer Leary was intentionally and outwardly denied the ability to see these

  materials because EHT PD’s contract with NJSACOP forbids the disclosure of such materials.

         81.        EHT PD, Defendant Michael Hughes, and all other officers and non-officers

  involved in the negotiation and/or singing of the contract with NJSACOP knew at all times

  relevant herein that the NJSACOP contract was violative of Officer Leary’s rights under the

  contract with the Union.

         82.        EHT PD and Michael Hughes and all others involved in the negotiation of the

  agreement, knowingly breached the agreement by: (a) entering into this contradictory contract

  with NJSACOP, and (b) upholding the contract with NJSACOP, despite the resultant breach of

  contract between the EHT PD and Union contract.

         83.        The Union and its agents, including, but not limited to Defendants Reynold

  Theriault and Jeffrey Lancaster, breached the agreement by failing to take action to enforce

  Officer Leary’s rights under the collective bargaining agreement.

         84.        To date, Plaintiff has still not been able to view the materials he is entitled to view

  pursuant to his contract.

         85.        Plaintiff has been passed over for a promotion and, by design, is unable to

  confirm or deny the accuracy of the test results due to Defendants’ breach of contract and refusal

  to provide the examination materials as requested.

         86.        Plaintiff has suffered mental, emotional, and economic damages due to

  Defendants’ actions.

  WHEREFORE, Plaintiff seeks judgment as follows:

               a.   Economic damages for lost wages and benefits (past and future);
               b.   Compensatory damages;
               c.   Punitive damages;
               d.   Attorneys fees and costs; and
               e.   Any other relief that the Court may deem just and equitable.



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      COUNT II - BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

         87.        Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

         88.        Plaintiff is a third-party beneficiary of the contract for employment between his

  union and his employer.

         89.        Every contract contains a covenant of good faith and fair dealing.

         90.        Defendants failed to act in good faith when knowingly entering into contradictory

  contracts that would infringe on Plaintiff’s rights.

         91.        By admission, Michael Hughes, stated this is an issue that has been brought to

  Defendants’ attention previously, yet historically nothing has been done to resolve the

  inconsistencies and contradictions that continue to cause issues [as paraphrased].

         92.        Despite having this knowledge from past incidents, the Union and the Township

  breached the covenant of good faith and fair dealing by not engaging in any real effort to rectify

  this problem during negotiations of the agreement and by not pursuing an effective resolution to

  Plaintiff’s Grievance.

         93.        EHT PD breached the covenant of good faith and fair dealing when it entered into

  a contract that limited Plaintiff’s, and other officers’, rights under their collective bargaining

  agreement and thus, was not consistent with the expectations of Plaintiff.

         94.        Plaintiff has suffered mental, emotional, and economic damages due to

  Defendants’ breach.

  WHEREFORE, Plaintiff seeks judgment as follows:

               a.   Economic damages for lost wages and benefits (past and future);
               b.   Compensatory damages;
               c.   Punitive damages;
               d.   Attorneys fees and costs; and
               e.   Any other relief that the Court may deem just and equitable.



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            COUNT III - BREACH OF THE DUTY OF FAIR REPRESENTATION
                (New Jersey Civil Rights Act, N.J.S.A. 10:6-2(c) and (e), and
              Employer-Employee Relations Act N.J.S.A. 34:13A-5.4 and 5.3)

          95.     Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

          96.     Pursuant to the New Jersey Employer-Employe Relations Act § 34:13A-5.4

  (“EERA”), public employers, their representatives or agents are prohibited from “interfering

  with, restraining or coercing employees in the exercise of the rights guaranteed to them by this

  act.” These rights include fair representation by the employees’ union.

          97.     Defendant, Union, had a duty to represent Plaintiff in good faith when bringing a

  Grievance before EHT PD and to fairly and competently represent the Plaintiff throughout the

  process. Instead, Defendants, the Union, Theriault, Lancaster, Markulic, and the EHT PD, acting

  under the color of law, arbitrarily and without just cause or excuse, refused to assist Plaintiff in

  going to arbitration per Plaintiff’s request.

          98.     The duty of fair representation requires union representatives to represent the

  member fairly, in good faith, and without discrimination. Defendants’, the Union, Theriault,

  Lancaster, Markulic, and the EHT PD, chose not to arbitrate, which was in bad faith. They

  should have represented Plaintiff without hostility and acted in complete good faith and honesty,

  but instead, they breached their duty of fair representation.

          99.     The New Jersey constitution guarantees the right of public employees to

  “organize, present to and make known to the State…their grievances and proposals through

  representatives of their own choosing.” N.J. Const.Art.1, paragraph 19.

          100.    The Union’s duty of fair representation includes the obligation to process

  employee grievances in good faith, pursuant to § 34:13A-5.3. The result of the Grievance

  process provided no relief whatsoever for Plaintiff’s complaints and was unacceptable to

  Plaintiff, who was refused his rights.
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         101.     The Defendants in this action violated Plaintiff’s civil rights under N.J.S.A.

  10:6-2(c) by depriving Plaintiff of his substantive due process secured by the laws of this state.

  Likewise, Plaintiff’s exercise of his rights have been interfered with by coercion by all

  Defendants herein, while acting under color of law.

         102.     Defendants Jeffrey Lancaster and Reynold Theriault (Business Agent) are both

  agents of the Union and acted under color of law. Officer Lancaster and Officer Theriault refused

  to pursue Plaintiff’s Grievance beyond the initial Grievance process, which they were required to

  do fairly and in good faith. These Defendants and the other Defendants named within have

  violated the law (EERA) and violated Plaintiff's civil rights under the above-named Civil Rights

  Act statute.

         103.     Plaintiff has suffered mental, emotional, and financial harm as a direct result of

  Defendants’ breach of Duty of Fair Representation, and violation of Plaintiff’s civil rights.

         WHEREFORE, Plaintiff seeks judgment as follows:

             a.   Economic damages for lost wages and benefits (past and future);
             b.   Compensatory damages;
             c.   Punitive damages;
             d.   Attorneys fees and costs; and
             e.   Any other relief that the Court may deem just and equitable.



          COUNT IV - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

         104.     Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

         105.     Plaintiff has worked hard in his decades-long career as an officer to receive a

  promotion and cares deeply about his role as a public servant.

         106.     Defendants’ actions have intentionally prevented Plaintiff from being able to

  advance his career, despite the many objective reasons why he is eligible for the promotions.



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          107.     Defendants actions are intentional and extreme, as other officers have been

  selected for promotions over Plaintiff for partial reasons and not based on merit.

          108.     Defendants’ conduct is outrageous, especially due to Plaintiff’s pristine

  employment record and dedication to the force (including returning to work after being shot).

          109.     Plaintiff has suffered emotionally as a direct result and proximate cause of

  Defendant’s willful and malicious actions.

          110.     Plaintiff has had no recourse, despite making every attempt and effort to resolve

  this issue. The situation has become so distressing that no reasonable person would be expected

  to endure it.

          WHEREFORE, Plaintiff seeks judgment as follows:

              a.   Economic damages for lost wages and benefits (past and future);
              b.   Compensatory damages;
              c.   Punitive damages;
              d.   Attorneys fees and costs; and
              e.   Any other relief that the Court may deem just and equitable.


                  COUNT V - HOSTILE WORK ENVIRONMENT/RETALIATION

          111.     Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

          112.     Due to the adverse employment actions by Defendants and the violation of

  Plaintiff’s civil rights, Plaintiff sent a Tort Claims Notice to the State of New Jersey, the EHT

  PD, and the Township after all attempts to resolve his complaints proved fruitless.

          113.     Plaintiff’s sending of the Tort Claims Notice was protected employee activity.

          114.     However, after receiving the Tort Claims Notice, EHT PD placed Plaintiff on

  administrative leave beginning late on a Friday afternoon, the weekend of Memorial Day, and

  informed him he could not return to work without a fitness for duty evaluation.




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         115.     Plaintiff was not allowed to work that weekend as planned and he was unable to

  schedule an appointment for an evaluation given it was a holiday weekend, the timing of which

  was orchestrated by Defendants.

         116.     Plaintiff alleges that he was placed on administrative leave in retaliation for filing

  the Tort Claims Notice with the State.

         117.     As evidence that the administrative leave was sheer retaliation, despite

  Defendants’ alleged concern for Plaintiff’s mental health, no efforts or attempts were made to

  contact Plaintiff about the possession of his weapons or any other State-issued materials.

         118.     Plaintiff remained in possession of all of his state issued weapons and firearms

  throughout the duration of his administrative leave.

         119.     Plaintiff suffered mental, emotional, and financial damages as a direct result of

  being retaliated against.

         WHEREFORE, Plaintiff seeks judgment as follows:

             a.   Economic damages for lost wages and benefits (past and future);
             b.   Compensatory damages;
             c.   Punitive damages;
             d.   Attorneys fees and costs; and
             e.   Any other relief that the Court may deem just and equitable.


                                     COUNT VI - CONSPIRACY

         120.     Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

         121.     Pursuant to Defendant Michael Hughes’ denial to Plaintiff’s Step Two Grievance,

  he cites “past practice” that is simply “understood” as reasoning for the violation of Plaintiff’s

  contractual rights.

         122.     Upon information and belief, officers have historically been barred from viewing

  the materials from promotional exams that they are entitled to view per the Union contract.

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         123.     The inability to view these materials makes it nearly impossible to know what the

  true scores of the tests were.

         124.     Upon information and belief, the decisions for promotions are not made based on

  the objective test scores and/or the test scores may be skewed to unfairly affect who is promoted.

         125.     Upon information and belief, Jeffery Lancaster, Reynold Theriault, Michael

  Hughes, NJSACOPS, and/or other Defendants, named or unnamed, conspired to decide who

  would receive promotions.

         126.     Upon information and belief, Jeffery Lancaster, Reynold Theriault, and Michael

  Hughes conspired to make sure Plaintiff’s Grievance did not proceed to arbitration, despite his

  complaints having merit and having not been resolved through the Grievance process.

         127.     Upon information and belief, the decision not to arbitrate was not made

  impartially or based on the merits of the Grievance.         Rather, this decision was made, in

  furtherance of the conspiracy between Defendants Jeffrey Lancaster and Reynold Theriault and

  the then Chief of Police, Michael Hughes and the testing company NJSACOPS for self-serving

  reasons.

         128.     Likewise, the decision by the Defendants to refuse to show Plaintiff his test is a

  conspiracy since it is an agreement between the parties in furtherance of committing an unlawful

  act: namely skewing the promotional test exam and results.

         129.     Plaintiff suffered damages as a result of Defendants’ conspiracy.

         WHEREFORE, Plaintiff seeks judgment as follows:

             a.   Economic damages for lost wages and benefits (past and future);
             b.   Compensatory damages;
             c.   Punitive damages;
             d.   Attorneys fees and costs; and
             e.   Any other relief that the Court may deem just and equitable.

       COUNT VII - BREACH OF THE COLLECTIVE BARGAINING AGREEMENT



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           130.   Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

           131.   The Union failed to file a grievance when it learned of the collective bargaining

  breach of having two conflicting contracts related to revealing the results of the promotional

  exams.

           132.   The Union and EHT PD breached the collective bargaining agreement when it

  entered into the agreement since the Defendants knew that the Plaintiff and other Officers would

  be unable to see their test results.

           132.   This breach was intentional and had been known for many years.

           133.   Defendants’ failure to amend and correct this breach supports Plaintiff’s claim

  that this violation of the law is intentional.

           WHEREFORE, Plaintiff seeks judgment as follows:

                  a.      Economic damages for lost wages and benefits (past and future);
                  b.      Compensatory damages;
                  c.      Punitive damages;
                  d.      Attorneys fees and costs; and
                  e.      Any other relief that the Court may deem just and equitable.


      COUNT VIII - STATE CIVIL RIGHTS VIOLATION UNDER THE NEW JERSEY
                 CIVIL RIGHTS ACT, PURSUANT TO N.J.S.A. 10:6-2
                             FAILURE TO PROMOTE

           122.   Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

           123.   Defendants deprived, interfered and/or attempted to interfere with Plaintiff’s

  attempts to advance himself and become promoted.

           123.   Defendants were acting under color of law, in their capacity as law enforcement

  officers and their related roles, when they violated N.J.S.A. 40A:14-129, which specifically

  states that due consideration shall be given to the member or officer so proposed for the

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  promotion, to the length and merit of his service and preference shall be given according to

  seniority in service.

          124.    Further, Defendants were acting under color of law, in their capacity as officers

  and their related roles when they failed to promote Plaintiff in violation of public policy,

  specifically due to Defendants’ breach of their duty to fairly represent Plaintiff in his grievance

  process and by way of Defendants’ breach of contract.

          125.    Defendants’ violations of Plaintiff’s civil rights caused Plaintiff harm.

          WHEREFORE, Plaintiff seeks judgment as follows:

                  a.      Economic damages for lost wages and benefits (past and future);
                  b.      Compensatory damages;
                  c.      Punitive damages;
                  d.      Attorneys fees and costs; and
                  e.      Any other relief that the Court may deem just and equitable.


   COUNT IX - STATE CIVIL RIGHTS VIOLATION UNDER THE NEW JERSEY CIVIL
                    RIGHTS ACT PURSUANT TO N.J.S.A 10:6-2
                 BREACH OF DUTY OF FAIR REPRESENTATION

          127.    Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

          128.    Defendants deprived, interfered and/or attempted to interfere with Plaintiff’s

  rights to be fairly represented by his union.

          129.    Defendants, Michael Hughes, Jeffrey Lancaster, Reynold Theriault, and or other

  Defendants, under color of law, deprived, interfered (and/or attempted to interfere), by way of

  intimidation and coercion, with Plaintiff’s rights to be fairly represented by his Union and/or

  conspired to not arbitrate Plaintiff’s grievance.

          130.    This violation is contrary to the New Jersey Constitution, which guarantees the

  right of public employees to “organize, present to and make known to the State…their grievances

  and proposals through representatives of their own choosing.” N.J. Const.Art.1, paragraph 19.

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          131.    Defendants’ actions directly caused Plaintiff’s harm.

          WHEREFORE, Plaintiff seeks judgment as follows:

                  a.      Economic damages for lost wages and benefits (past and future);
                  b.      Compensatory damages;
                  c.      Punitive damages;
                  d.      Attorneys fees and costs; and
                  e.      Any other relief that the Court may deem just and equitable.


                       COUNT X -VIOLATION OF FEDERAL CIVIL RIGHTS,
                                PURSUANT TO 42 U.S.C. §1983

          132.    Plaintiff repeats and incorporates each and every allegation in the preceding

  paragraphs as if fully set forth herein.

          133.    Defendant, EHT PD, is a “state actor,” acting under color of law, for purposes of

  this §1983 claim.

          134.    Defendant, Union, is a “state actor,” acting under color of law, for purposes of this

  §1983 claim.

          135.    All other Defendants, including those named individually herein, are “state

  actors,” acting under color of law for purposes of this §1983 claim.

          136.    These Defendants acted within their official and individual capacities in

  conspiring to breach the collective bargaining agreement and intentionally breaching their duty

  of fair representation to Plaintiff.

          137.    Together, the aforementioned acts by Defendants in this matter wrongfully

  deprived Plaintiff of his interests without due process of law.

          138.    Due process requires that the procedures by which the applicable laws were

  applied to Plaintiff, must be evenhanded. Plaintiff alleges that he was subjected to the arbitrary

  exercise of government power by the Union, EHT PD, and all other Defendants, together and

  individually.



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         139.    As a direct result of the violations set forth in all counts of the within complaint,

  Plaintiff has sustained economic and compensatory damages, loss of future income and pension,

  loss of future benefits, emotional distress, anxiety and humiliation.

         WHEREFORE, Plaintiff seeks judgment as follows:


                 a.      Economic damages for lost wages and benefits (past and future);
                 b.      Compensatory damages;
                 c.      Punitive damages;
                 d.      Attorneys fees and costs; and
                 e.      Any other relief that the Court may deem just and equitable.


                                                        WIDMAN LAW FIRM, LLC
                                                        Attorneys for Plaintiff, Christopher Leary
                                                        2000 Shore Rd., Suite 201
                                                        Linwood, NJ 08221

  Dated: July 29, 2023                                  /s/ Phy is Widman
                                                        Phyllis Widman, Esq.



                 CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

         I certify that the matter in controversy is the subject of only one other action, which is

  pending the administrative proceeding under the Public Employment Relations Committee

  (PERC); Unfair Practice Charge filed on July 28, 2023.



                 DEMAND FOR DISCOVERY OF INSURANCE COVERAGE



         Pursuant to R. 4:10-2(b), demand is made upon each defendant that it disclose to

  Plaintiff's counsel whether or not there are any insurance agreements or policies under which any

  person or firm carrying on an insurance business may be liable to satisfy part or all of a judgment

  which may be entered in this action or indemnify or reimburse such defendant for payments to


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  satisfy any judgment rendered herein and provide Plaintiff’s counsel with those insurance

  agreements or policies, including, but not limited to, all and any declaration sheets. This demand

  shall include not only primary coverage, but also all and any excess, catastrophe and umbrella

  policies.




                              DESIGNATION OF TRIAL COUNSEL

          Phyllis Widman, Esq. is hereby designated as trial counsel for Plaintiff in this matter.



                                           JURY DEMAND

          Plaintiff demands trial by jury for each issue raised herein.



                             CERTIFICATION PURSUANT TO RULE 4:5-1

          Plaintiff hereby certifies that the matter in controversy is not the subject of any other

  pending or contemplated judicial or arbitration proceeding, with the exception of the

  administrative proceeding before the Public Employment Relations Commission (PERC). To the

  best of Plaintiff’s knowledge and belief, no other parties need to be joined at this time.



                           CERTIFICATION PURSUANT TO RULE 1:37-7(b)

          I certify that confidential personal identifiers have been redacted from documents now

  submitted to the court, and will be redacted from all documents submitted in the future in

  accordance with Rule 1:38-7(b).




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                                             WIDMAN LAW FIRM, LLC
                                             Attorneys for Plaintiff, Christopher Leary
                                             2000 Shore Rd., Suite 201
                                             Linwood, NJ 08221


  Dated: July 29, 2023                       /s/ Phy is Widman
                                             Phyllis Widman, Esq.




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